                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE


Z.J.,
Plaintiff,                                             Case No. 3:17-cv-00936

v.                                                     Judge Crenshaw

THE VANDERBILT UNIVERSITY,                             Magistrate Judge Holmes
Defendant.


                                   JOINT STATUS REPORT


        In accordance with the Court’s Case Management Order entered May 29, 2018, the parties

hereby advise the Court they have made their first good faith attempt to resolve this matter.

However, given their relative positions, the parties do not believe that ADR would assist in the

resolution of this matter at this time, especially given the pendency of the Defendants’ Motion to

Dismiss. The parties discussed making another attempt in this regard on the earlier of either ten

(10) days after any ruling on the motion to dismiss (if any aspect of the case survives the motion) or

ten (10) days before the next scheduled case management conference.

        DATED this 6th day of September, 2018.

                                                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 6th day of September, 2018 a copy of the foregoing was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system
to:

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